Case 0:20-cv-60862-RKA Document 1 Entered on FLSD Docket 04/28/2020 Page 1 of 16



  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF FLORIDA
                                                   )
   IT’S A NEW 10, LLC, a Florida Limited           )
                                                   )
   Liability Company,
                                                   )
                                                   )
                          Plaintiff,
                                                   )        ___ Civ. _________ (___)
                                                   )
          v.
                                                   )        ECF Case
                                                   )
   FIT & GLOW, INC., a Florida corporation;
                                                   )        JURY TRIAL DEMANDED
   and FIT & GLOW HEALTHCARE
                                                   )
   PRIVATE, LTD., a Foreign Limited
                                                   )
   Liability Company of India,
                                                   )
                                                   )
                          Defendants.
                                                   )



                                            COMPLAINT

         Plaintiff It’s a New 10, LLC (“Plaintiff” or “It’s a New 10”), by and through its


  undersigned attorneys, hereby alleges and avers as follows:

                                             The Parties

         1.      Plaintiff It’s a New 10, LLC is a limited liability company organized under the

  laws of the state of Florida with a principal place of business at 4613 North University Drive,

  #478 Coral Springs, Florida 33067.

         2.      Upon information and belief, Defendant Fit & Glow, Inc. is corporation organized

  and existing under the laws of the State of Florida.

         3.      Upon information and belief, Defendant Fit & Glow Healthcare Private Ltd. (“Fit

  & Glow” or “Defendant”) is a foreign limited liability corporation of India with its principal

  place of business located at India No. 10, 1st Floor, Oil Mill Road, Arvind Nagar Kammanahalli

  Bangalore Chennai, Karnataka, India 560033.


                                                   1
Case 0:20-cv-60862-RKA Document 1 Entered on FLSD Docket 04/28/2020 Page 2 of 16



            4.    Upon further information and belief, Defendants are selling, advertising and

  promoting products that are the subject of this Complaint in retail stores throughout Florida and

  on websites accessible in Florida, including in this judicial district, and throughout the United

  States.

                                          Jurisdiction and Venue

            5.    This Court has jurisdiction over the subject matter of this action under Section

  39(a) of the Lanham Act, 15 U.S.C. §1121 and Sections 1331, 1332(a)(1), 1338(a), 1338(b) and

  2201 of the Judicial Code, 28 U.S.C. §1331, 1338(a) and (b), and under principles of pendent

  jurisdiction. The Court also has supplemental jurisdiction pursuant to the provisions of 28 U.S.C.

  §1367.

            6.    Personal jurisdiction is proper in this district because Defendants have either

  engaged in business activities in, and directed to, this judicial district and is doing business in the

  State of Florida and this judicial district or have intentionally committed a tortious act within this

  district and/or has committed a tortious act outside of the State of Florida causing injury to

  Plaintiff within this judicial district. Defendants intentionally directed their infringing activities

  to the State of Florida and this judicial district, sell and/or advertise and promote infringing

  products for sale on websites accessible in Florida, including the infringing products, identified

  herein, within the State of Florida and in this judicial district, and the exercise of personal

  jurisdiction would be otherwise constitutionally permissible over Defendants.

            7.    Venue is proper in this district pursuant to 28 U.S.C. §1391(b) because upon

  information and belief a substantial part of the events giving rise to Plaintiff’s claim occurred in

  this district, including, inter alia, Defendants committed trademark infringement in this judicial

  district and sold, advertised and/or promoted their infringing products in this district through

  retail stores or websites accessible in this judicial district. Plaintiff resides in this judicial district,
                                                       2
Case 0:20-cv-60862-RKA Document 1 Entered on FLSD Docket 04/28/2020 Page 3 of 16



  conducts a substantial part of its business in this district, and Plaintiff has been injured in this

  district by Defendants’ infringing activities.

                                        Plaintiff’s Trademark Rights

          8.     Plaintiff It’s a New 10 is a nationally recognized leader in the innovation and sale

  of a full line of women’s and men’s hair care products, including but not limited to, innovative

  hair care formulas for leave-in hair products that are left in the hair and do not need to be washed

  out. Plaintiff is the owner of the well-known and top-selling “It’s a 10 Miracle” hair care product

  line.

          9.      Plaintiff manufactures and sells several collections of professional hair care

  products, including a “conditioning collection,” which includes Plaintiff’s top-selling It’s a 10

  Miracle Leave-In Product, a “keratin collection,” and a “defrizzing collection.” The hair care

  products sold in Plaintiff’s collections are referred to herein collectively as “It’s a 10 Miracle

  Hair Products.”

          10.    Plaintiff promotes and sells all of its It’s a 10 Miracle Hair Products under the It’s

  a 10 trademark in combination with a family of Miracle-formative marks.

          11.    It's a New 10 has long-standing common law rights in its It’s a 10 trademark and

  Miracle Formative Marks and is the owner of numerous federal U.S. trademark registrations for

  It's a 10 and for numerous MIRACLE-formative marks for hair care products as identified below

  (collectively “the Registrations”).

  MARK                                  REG. NO.     DESCRIPTION OF GOODS

  IT'S A 10 MIRACLE LEAVE               4578758      IC 003 Hair care preparations; hair styling
  IN PRODUCT                                         preparations; hair care products, namely, hair gels and
                                                     conditioners.
  IT'S A 10                             3420182      IC 003 A full line of hair care products, namely,
                                                     shampoos, and conditioners styling gels, hair lotions
                                                     and hair sprays.
  IT’S A 10 HAIRCARE                    5426017      IC 003. Hair shampoos, hair conditioners, hair leave-
                                                     in conditioners, hair sprays, hair gels, hair creams,
                                                     3
Case 0:20-cv-60862-RKA Document 1 Entered on FLSD Docket 04/28/2020 Page 4 of 16



  MARK                     REG. NO.    DESCRIPTION OF GOODS

                                       hair conditioning masks, hair styling paste, hair oil,
                                       hair lotion, hair pomade, hand cream.

  MIRACLE LEAVE IN         3,446,682   IC 003. A full line of hair care products, namely,
  PRODUCTS                             shampoos, conditioners, styling gels, hair lotions and
                                       hair sprays.

  MIRACLE HAIR MASK        3,760,933   IC 003. Hair care products, namely, a hair conditioner
                                       and strengthener.


  MIRACLE LEAVE IN         4,082,539   IC 003. Hair care products, namely, styling,
  PLUS KERATIN                         nourishing and protective sprays.


  MIRACLE STYLING MOUSSE   4,537,870   IC 003. Hair styling aids, namely, hair mousse.


  MIRACLE SILK             4,556,470   IC 003. Hair care products, namely, shampoos and
                                       conditioners.


  MIRACLE SILK SMOOTHING   4,672,156   IC 003. Hair care products, namely, hair styling
  BALM                                 balms.


  MIRACLE SILK SHAMPOO     4,705,180   IC 003. Hair care products, namely, shampoos.


  MIRACLE SILK HAIR MASK   4,705,175   IC 003. Hair care preparations; hair care products,
                                       namely, hair masks.


  MIRACLE LEAVE IN FOR     4,404,247   IC 003. Hair care preparations; hair care products,
  BLONDES                              namely, hair conditioner, hair cream, hair gel, and hair
                                       lotion.


  MIRACLE LEAVE IN LITE    4,276,330   IC 003. Hair care products, namely, leave in
                                       conditioning aids.


  MIRACLE SHAMPOO PLUS     4,210,868   IC 003. Hair care products, namely, shampoos.
  KERATIN


  MIRACLE OIL PLUS         4,210,866   IC 003. Hair care products, namely, oil preparation for
  KERATIN                              hair.

                                       4
Case 0:20-cv-60862-RKA Document 1 Entered on FLSD Docket 04/28/2020 Page 5 of 16



  MARK                          REG. NO.       DESCRIPTION OF GOODS


  MIRACLE VOLUME                4,210,867      IC 003. Hair care products, namely, shampoos.
  SHAMPOO

  MIRACLE FINISHING SPRAY       4,210,865      IC 003. Hair care products, namely, styling sprays.



        12.    The foregoing marks are collectively referred to herein as the It’s a 10

  Trademark and Miracle Marks.

        13.    Representative It’s a 10 Miracle Hair Products using the It’s a 10 Trademark

  and Miracle Marks are depicted in Image 1 below.



                                              IMAGE 1

                         (Plaintiff’s It’s a 10 Miracle Defrizzing Collection)




        14.    Plaintiff also has established long-standing common law rights in the It’s a 10

  Trademark and Miracle Marks as a result of continuous, exclusive and substantial use of the
                                            5
Case 0:20-cv-60862-RKA Document 1 Entered on FLSD Docket 04/28/2020 Page 6 of 16



  It’s a 10 Trademark and the Miracle Marks in interstate commerce on or in connection with

  its It’s a 10 Miracle Hair Products commencing in 2006.

          15.     Plaintiff also has established common law trademark rights in a list of 10 benefits

  appearing on many of the It’s a 10 Miracle Hair Products.

          16.     Plaintiff has spent millions of dollars to date on the advertising and promotion of

  the It’s a 10 Miracle Hair Products and has invested an immeasurable amount of time and

  effort in the development of its unique brand and product line.

          17.     Plaintiff’s sales of the It’s a 10 Miracle Hair Products line have exceeded

  $400 million since 2006 which includes Plaintiff’s top-selling products at issue in this action.

          18.     Plaintiff’s It’s a 10 Miracle Hair Products have earned substantial recognition

  among professional salons and consumers as high-quality products, receiving glowing reviews

  not only from consumers, but celebrities alike.

          19.     The It’s a 10 Miracle Hair Products have also generated substantial attention

  and praise in various famous publications and magazines, including, but not limited to:

  Cosmopolitan, Fitness Magazine, Good Housekeeping, In Style, In Touch, Ladies’ Home

  Journal, Life & Style, Latina Magazine, Lucky Magazine, Martha Stewart Wedding Magazine, O

  magazine, OK! Magazine, People Magazine, Redbook, SELF Magazine, Seventeen, Star

  Magazine, Teen Vogue, and US Magazine.

          20.     It’s a 10 New 10’s predecessor, It’s a 10, Inc., was the exclusive supplier of hair

  care products for the Miami Heat (i.e., a professional basketball team of the National Basketball

  Association based in Miami, Florida), further enhancing the popularity of this already successful

  It’s a 10 hair care line.

          21.     The It’s a 10 Miracle Hair Products have also won numerous awards, including

  but not limited to, the Oprah 2019 Fall Beauty Awards, September 2019 Total Beauty Award,
                                                    6
Case 0:20-cv-60862-RKA Document 1 Entered on FLSD Docket 04/28/2020 Page 7 of 16



  Cosmopolitan Beauty Award, New Beauty Choice Award, Parent Mom Knows Best Beauty

  Award, Life & Style the Best of Beauty, Teen Vogue Beauty Award, OK Magazine Spring Beauty

  Award and the Destination and Honeymoon Beauty Award.

         22.     Plaintiff promoted its It’s a 10 Miracle Hair Products by broadcasting a

  promotional commercial during the live 2017 Super Bowl which reached millions of viewers.

         23.     As a result of Plaintiff’s considerable promotional efforts and sales, it has

  achieved huge commercial success and the It’s a 10 Trademark and Miracle Marks are widely

  recognized by consumers and the beauty industry as indicating the source of Plaintiff’s It’s a 10

  Miracle Hair Products.

         24.     The It’s a 10 Trademark and Miracle Marks, and the goodwill associated

  therewith, are of inestimable value to Plaintiff.



                                     Defendants’ Infringing Acts

         25.     Defendants sell and promote a line of hair care products. Long subsequent to

  Plaintiff’s adoption and use of its It’s a 10 Miracle-formative marks, Defendants adopted and

  began use of a confusingly similar mark of 10 in 1 Miracle for women’s hair care and shampoo

  products which, similar to Plaintiff, includes a list of 10 benefits on the packaging and the same

  color scheme (“Defendants’ Infringing Products”).




                                                      7
Case 0:20-cv-60862-RKA Document 1 Entered on FLSD Docket 04/28/2020 Page 8 of 16




         26.    Defendants’ Infringing Products are depicted in Image 2 below.


                                              IMAGE 2
                                   (Defendant’s Infringing Products)




         27.    Upon information and belief, Defendants’ Infringing Products are sold in stores

  and advertised on the internet in proximity to the It’s a 10 Miracle Hair Products. Defendants’

  Infringing Products are discussed in online blogs and forums along with the It’s a 10 Miracle

  Hair Products.

         28.    When the respective products are sold and advertised in the same channels of

  trade and same websites, a side by side comparison of the products is appropriate to establish

  trademark infringement. Image 3 below is a side by side comparison of representative products

  of It’s a 10 Miracle Hair Products and Defendants’ Infringing Products.


                                                8
Case 0:20-cv-60862-RKA Document 1 Entered on FLSD Docket 04/28/2020 Page 9 of 16



                                            IMAGE 3
          Plaintiff’s Products                     Defendants’ Infringing Products




         29.     Defendants’ Infringing Products are likely to continue to cause confusion,

  including initial-interest confusion, point-of-sale confusion and post-sale confusion, and to

  deceive consumers as to whether there is an affiliation, connection or association between

  Plaintiff and Defendants’ Infringing Products.

         30.     Plaintiff is suffering irreparable injury to its valuable trademark rights.

  Defendants’ conduct has caused and, if allowed to continue, will continue to cause irreparable

  damage to Plaintiff’s business, reputation and goodwill. Plaintiff’s damages are not yet

  ascertained.

         31.     The foregoing acts of infringement have been and continue to be deliberate,

  willful and wanton, constituting an exceptional case within the meaning of 15 U.S.C. §1117.




                                                 9
Case 0:20-cv-60862-RKA Document 1 Entered on FLSD Docket 04/28/2020 Page 10 of 16



                                              COUNT I
                                 Registered Trademark Infringement
                                          (15 U.S.C. § 1114)

         32.     Plaintiff repeats and re-alleges all of the allegations contained in the preceding

  paragraphs as if fully set forth herein.

         33.     Plaintiff’s It’s a 10 Trademark and Miracle Mark are federally registered

  trademarks that are inherently distinctive, nonfunctional and/or have acquired secondary

  meaning in the marketplace.

         34.     Defendants, without authorization from Plaintiff, have promoted, distributed, sold

  and/or offered for sale products that use a trademark that is confusingly similar to Plaintiff’s

  It’s a 10 Trademark and Miracle Marks.

         35.     On information and belief, the foregoing acts of Defendants were willful and

  Defendants intended to cause, has caused and is likely to continue to cause confusion, mistake,

  and deception among consumers, the public and the trade who recognize and associate Plaintiff’s

  It’ a 10 Trademark and Miracle Marks with Plaintiff, all in violation of 15 U.S.C 1114.

         36.     The foregoing illegal acts of Defendants have caused irreparable injury to

  Plaintiff and will continue to cause irreparable injury to Plaintiff’s business and goodwill.

  Plaintiff is also entitled to damages under 15 U.S.C. 1117.

                                           COUNT II
                               Common Law Trademark Infringement
                                       (15 U.S.C. 1125(a)

         37.     Plaintiff repeats, re-alleges and incorporates by reference all of the allegations

  contained in the preceding paragraphs as if fully set forth herein.

         38.     Defendants’ use in commerce of Defendants’ Infringing Products in order to

  profit off the goodwill and reputation associated with the It’ a 10 Trademark and Miracle

  Marks was intended to cause, and is likely to continue to cause confusion, mistake and
                                                   10
Case 0:20-cv-60862-RKA Document 1 Entered on FLSD Docket 04/28/2020 Page 11 of 16



  deception among consumers as to whether Defendants’ Infringing Products are affiliated with,

  sponsored or approved by Plaintiff.

         39.     Defendant’s use of 10 benefits on the packaging of Defendants’ Infringing

  Products infringes Plaintiff’s common law rights in its listing of 10 benefits.

         40.     As a direct and proximate result of Defendant’s infringement, Plaintiff has

  suffered, and will continue to suffer, irreparable injury and monetary loss to its business. Plaintiff

  is entitled to damages.

                                            COUNT III
                         False Designation of Origin and False Advertising
                                        (15 U.S.C. §1125(a))

         41.     Plaintiff repeats, re-alleges and incorporates by reference all of the allegations

  contained in the preceding paragraphs as if fully set forth herein.

         42.     Plaintiff’s It’ a 10 Trademark and Miracle Marks are distinctive, have been

  used throughout the United States and elsewhere, and are well known to distributors in the trade

  and consumers as an indicator of source of It’ a 10 Hair Miracle Products.

         43.     Defendants’ promotion, distribution, sale, and offering for sale of Defendants’

  Infringing Products, which use confusingly similar trademarks, constitutes false designation of

  origin or sponsorship of such goods and is likely to confuse, mislead, and deceive consumers and

  other purchasers, and members of the public as to the origin of the goods or to cause said persons

  to believe that the goods have been sponsored, approved, authorized or licensed by Plaintiff or

  are in some way affiliated with Plaintiff, all in violation of 15 U.S.C. § 1125(a). Plaintiff has

  suffered and will continue to suffer irreparable injury and is also entitled to damages under 15

  U.S.C. 1117.




                                                   11
Case 0:20-cv-60862-RKA Document 1 Entered on FLSD Docket 04/28/2020 Page 12 of 16



                                           COUNT IV
               Violation of Florida Deceptive Acts and Unfair Trade Practices Act
                              Pursuant to Florida Statute § 501.201

         44.     Plaintiff repeats, re-alleges and incorporates by reference all of the allegations

  contained in the preceding paragraphs as if fully set forth herein.

         45.     Defendants’ use of a mark virtually identical to the It’s a 10 Trademark and

  Miracle Marks coupled with the use of 10 benefits for use in connection with identical goods is

  clearly intended to deceive Florida consumers as to the origin of Defendants’ goods and to

  mislead customers into believing that Defendants’ goods have been sponsored, approved,

  authorized or licensed by Plaintiff or are in some way affiliated or connected with Plaintiff in

  violation of Florida Statute §502.201.

         46.     Defendants’ use of a confusingly similar mark in selling, advertising and

  promoting hair products using a mark virtually identical to Plaintiff’s marks constitutes unfair

  methods of competition and unfair or deceptive acts or practices in the conduct of any trade or

  commerce in contravention of Florida state law.

         47.     As an actual and proximate result of Defendants’ deceptive activities, Plaintiffs

  have been damaged to an amount according to proof at the time of trial and shall be entitled to

  costs and attorney fees in addition thereto as provided in §502.2105.


                                          COUNT V
                       Unfair Competition Under Common Law of Florida

         48.     Plaintiff repeats, re-alleges and incorporates by reference all of the allegations

  contained in the preceding paragraphs as if fully set forth herein.

         49.     Defendants intended to profit off the goodwill associated with Plaintiff’s It’ a 10

  Trademark and Miracle Marks through the use of its 10 in 1 Miracle mark which is

  confusingly similar to Plaintiff’s It’ a 10 Trademark and Miracle Marks. Defendants acted in

                                                   12
Case 0:20-cv-60862-RKA Document 1 Entered on FLSD Docket 04/28/2020 Page 13 of 16



  bad faith and intended to deceive consumers as to the origin of Defendants’ goods and to mislead

  customers into believing that Defendants’ goods have been sponsored, approved, authorized or

  licensed by Plaintiff or are in some way affiliated or connected with Plaintiff.

         50.     Defendants’ actions constitute unfair methods of competition and unfair or

  deceptive acts or practices in the conduct of any trade or commerce in contravention of Florida

  law.

         51.     As an actual and proximate result of Defendants’ deceptive activities, Plaintiff has

  suffered and will continue to suffer irreparable harm and has also been damaged in an amount

  according to proof at the time of trial, and shall be entitled to damages, costs and attorney fees in

  addition thereto.

                                             COUNT VI
                                          Unjust Enrichment

         52.     Plaintiff repeats, re-alleges and incorporates by reference all of the allegations

  contained in the preceding paragraphs as if fully set forth herein.

         53.     Defendants intentionally used, and continues to use, a trademark that is

  confusingly similar to Plaintiff’s It’ a 10 Trademark and Miracle Marks in order to divert

  consumers to Defendant’s Infringing Products and to profit off the goodwill associated with

  Plaintiff’s It’ a 10 Trademark and Miracle Marks.

         54.     As a result of Defendants’ infringing activities, a monetary benefit has been

  conferred upon Defendants. Defendants voluntarily realized and retained such benefit.

         55.     Defendants have been unjustly enriched at Plaintiff’s expense, and the present

  circumstances as well as principles of equity are such that it would be inequitable to allow

  Defendants to retain such monetary benefits without requiring the Defendants to make restitution

  to Plaintiff for damages related thereto.

                                                   13
Case 0:20-cv-60862-RKA Document 1 Entered on FLSD Docket 04/28/2020 Page 14 of 16



                                             PRAYER FOR RELIEF

          WHEREFORE, Plaintiff demands as follows:

          1.          Defendants,    their   agents,   subsidiaries,   servants,   employees,   attorneys,

  representatives, successors and assigns and all persons, firms, or corporations in active concert or

  participation with Defendants be enjoined and restrained preliminarily and permanently from:

                (a)      directly or indirectly infringing Plaintiff’s It’s a 10 Trademark and/or

                         Miracle Marks;

                (b)      distributing, advertising, selling, or offering Defendants’ products for sale

                         using the 10 in 1 Miracle mark or any derivative thereof, including but not

                         limited to any mark comprised of MIRACLE, or the terms 10 and MIRACLE;

                (c)      using a list of 10 benefits on Defendants’ packaging;

                (b)      engaging in any conduct that is likely to confuse, mislead, or deceive

                         consumers to believe that Defendants or Defendants’ Infringing Products

                         are sponsored, approved, licensed or in any way connected or affiliated with

                         Plaintiff; and

                (c)      otherwise competing unfairly with Plaintiff in any manner.

          2.          Defendants be required to deliver for destruction to Plaintiff’s counsel all goods in

  its possession or under its control, including Defendants’ Infringing Products, and any

  promotional and advertising material related thereto, and any other unauthorized items that

  infringe Plaintiff’s It’s a 10 Trademark and Miracle Marks.

          3.          Defendants be required to account for and to pay to Plaintiff all of Defendant’s

  profits and all of Plaintiff’s damages resulting from Defendant’s foregoing infringing and unfair

  activities;



                                                       14
Case 0:20-cv-60862-RKA Document 1 Entered on FLSD Docket 04/28/2020 Page 15 of 16



         4.     Plaintiff recover from Defendants its costs of this action, reasonable attorneys’

  fees, and prejudgment and post-judgment interest;

         5.     Plaintiff recover from Defendants punitive damages;

         6.     Plaintiff be awarded damages under 15 U.S.C. 1117 and enhanced damages under

  15 U.S.C. 1117 for willful infringement;

         7.     Plaintiff be awarded its actual damages caused by Defendants’ unlawful conduct; and

         8.     Plaintiff be entitled to any and all further relief as the Court may deem just and

  proper under the circumstances.




                                    DEMAND FOR JURY TRIAL

         Plaintiff hereby demands a trial by jury on all issues triable to a jury.


  Dated: April 28, 2020

                                                Respectfully submitted,

                                                Michael J. Sacks
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                                                   15
Case 0:20-cv-60862-RKA Document 1 Entered on FLSD Docket 04/28/2020 Page 16 of 16




                                       16
